Case 22-11068-JTD   Doc 23943-2   Filed 08/28/24   Page 1 of 10




                        EXHIBIT A

                      Proposed Order
            Case 22-11068-JTD              Doc 23943-2         Filed 08/28/24         Page 2 of 10




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Ref. No. __


              ORDER SUSTAINING DEBTORS’ EIGHTY-SECOND
    (SUBSTANTIVE) OMNIBUS OBJECTION TO CERTAIN OVERSTATED AND/OR
           UNLIQUIDATED PROOFS OF CLAIM (CUSTOMER CLAIMS)

                 Upon the eighty-second omnibus objection (the “Objection”) 2 of FTX Trading

Ltd. and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for entry of

an order (this “Order”) sustaining the Objection and modifying and reducing the Overstated

and/or Unliquidated Claims set forth in Schedule 1 and Schedule 2 attached hereto, and this

Court having jurisdiction to consider the Objection pursuant to 28 U.S.C. §§ 157 and 1334 and

the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012; and this Court being able to issue a final order consistent

with Article III of the United States Constitution; and venue of these Chapter 11 Cases and the

Objection in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter

being a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Objection.
             Case 22-11068-JTD        Doc 23943-2       Filed 08/28/24      Page 3 of 10




and adequate notice of the Objection and the relief requested therein has been provided in

accordance with the Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered

herein, no other or further notice is necessary; and responses (if any) to the Objection having

been withdrawn, resolved or overruled on the merits; and a hearing having been held to consider

the relief requested in the Objection and upon the record of the hearing and all of the proceedings

had before this Court; and this Court having found and determined that the relief set forth in this

Order is in the best interests of the Debtors and their estates; and that the legal and factual bases

set forth in the Objection establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefor;

               IT IS HEREBY ORDERED THAT:

               1.      The Objection is SUSTAINED as set forth herein.

               2.      Each Overstated and/or Unliquidated Claim set forth in Schedule 1 and

Schedule 2 attached hereto is modified and reduced. The claims listed in the column titled

“Modified Claims” identified in Schedule 1 and Schedule 2 attached hereto shall remain on the

claims register, subject to the Debtors’ further objections on any substantive or non-substantive

grounds.

               3.      Should one or more of the grounds of objection stated in the Objection be

dismissed, the Debtors’ right to object on any other grounds that the Debtors discover is

preserved.


                                                 -2-
             Case 22-11068-JTD         Doc 23943-2      Filed 08/28/24     Page 4 of 10




               4.        To the extent a response is filed regarding any Overstated and/or

Unliquidated Claim, each such Overstated and/or Unliquidated Claim, and the Objection as it

pertains to such Overstated and/or Unliquidated Claim, will constitute a separate contested

matter as contemplated by Bankruptcy Rule 9014. This Order will be deemed a separate order

with respect to each Overstated and/or Unliquidated Claim. Any stay of this Order pending

appeal by any claimants whose claims are subject to this Order shall only apply to the contested

matter which involves such claimant and shall not act to stay the applicability and/or finality of

this Order with respect to the other contested matters listed in the Objection or this Order.

               5.        The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

               6.        Nothing in this Order or the Objection is intended or shall be construed as

a waiver of any of the rights the Debtors may have to enforce rights of setoff against the

claimants.

               7.        Nothing in the Objection or this Order, nor any actions or payments made

by the Debtors pursuant to this Order, shall be construed as: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party-in-interest’s right

to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an implication


                                                  -3-
           Case 22-11068-JTD          Doc 23943-2        Filed 08/28/24     Page 5 of 10




or admission that any particular claim is of a type specified or defined in this Order; (e) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates; or (f) a waiver of any claims or

causes of action which may exist against any entity under the Bankruptcy Code or any other

applicable law.

               8.      This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.

               9.      This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Objection or the implementation of this Order.

Dated: ___________________
       Wilmington, Delaware                             The Honorable John T. Dorsey
                                                        Chief United States Bankruptcy Judge




                                                  -4-
Case 22-11068-JTD   Doc 23943-2   Filed 08/28/24    Page 6 of 10




                       SCHEDULE 1

            Overstated and/or Unliquidated Claims
                                                 Case 22-11068-JTD                                   Doc 23943-2                            Filed 08/28/24                             Page 7 of 10
                                                                                                               FTX Trading Ltd. 22-11068 (JTD)
                                                                                                          Eighty-Second Omnibus Claims Objection
                                                                                                                Schedule 1 - Modified Claims

                                                                                                   Asserted Claims                                                                                            Modified Claim
  Claim
 Number              Name                                         Debtor                            Tickers                                Ticker Quantity                                Debtor                                Ticker Quantity
93660   Name on file                              FTX Trading Ltd.                  CUSDT                                                                                   West Realm Shires Services Inc.                          4,682.702735280000000
                                                                                    USD                                                            103.000000000000000                                                                   0.000000000103020
                                                                                    USDT                                                           103.000000000000000                                                                   0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
93692     Name on file                         FTX Trading Ltd.                      GRT                                                                                      West Realm Shires Services Inc.                               31.119104330000000
                                                                                     MATIC                                                                                                                                                  62.294273900000000
                                                                                     USD                                                               100.000000000000000                                                                   0.348094480000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
93489     Name on file                         FTX Trading Ltd.                      ALGO                                                                                     West Realm Shires Services Inc.                              349.066540380000000
                                                                                     DOGE                                                                                                                                                    2.000000000000000
                                                                                     KSHIB                                                                                                                                              1,268.787207420000000
                                                                                     MATIC                                                                                                                                                 137.140885450000000
                                                                                     SHIB                                                                                                                                          13,888,800.081724440000000
                                                                                     SOL                                                                                                                                                     9.866644541490572
                                                                                     TRX                                                                                                                                                   175.546768260000000
                                                                                     USD                                                             2,000.000000000000000                                                                   0.059139902590844
                                                                                     YFI                                                                                                                                                     0.004454950000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
33534     Name on file                         FTX Trading Ltd.                      BTC                                                                                      Quoine Pte Ltd                                                 0.000063890000000
                                                                                     SOL                                                               117.404483750000000                                                                   0.000000000000000
                                                                                     USD                                                                  2.070000000000000                                                                  0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
57497     Name on file                         West Realm Shires Services Inc.       BNB                                                                                      FTX Trading Ltd.                                               0.570445282185690
                                                                                     USD                                                                  0.000000013528530                                                                  0.000000013528530
                                                                                     USDT                                                                 0.000000004064446                                                                  0.000000004064446

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
27747     Name on file                         FTX Trading Ltd.                      FTT                                                                  0.097138390000000 Quoine Pte Ltd                                                   0.000000000000000
                                                                                     USDC                                                                                                                                                    0.124873700000000
                                                                                     USDT                                                              738.552512520000000                                                                   0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
82171     Name on file                         FTX Trading Ltd.                      ETH                                                                  3.000000000000000 West Realm Shires Services Inc.                                  0.000000000000000
                                                                                     NFT (327930493906500944/NIGHT
                                                                                     LIGHT #632)                                                                                                                                             1.000000000000000
                                                                                     USD                                                             5,000.000000000000000                                                                   1.010000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
33914     Name on file                         FTX Trading Ltd.                      ETH                                                                                      West Realm Shires Services Inc.                                0.001564990000000
                                                                                     ETHW                                                                                                                                                    0.001551310000000

                                                                                    NFT (407866778783863248/ENTRANCE
                                                                                    VOUCHER #1159)                                                                                                                                        1.000000000000000
                                                                                    SHIB                                                                                                                                                  1.000000000000000
                                                                                    SOL                                                                                                                                                   0.265341270000000
                                                                                    USD                                                                   Undetermined*                                                                   0.068666786202216

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
94166     Name on file                         FTX Trading Ltd.                      AVAX                                                                                     West Realm Shires Services Inc.                                2.570088010000000
                                                                                     BTC                                                                                                                                                     0.008079300000000
                                                                                     DOGE                                                                                                                                               1,655.102088600000000
                                                                                     ETH                                                                                                                                                     0.042410060000000
                                                                                     ETHW                                                                                                                                                    0.041883370000000
                                                                                     LTC                                                                                                                                                     0.507623680000000
                                                                                     SHIB                                                                                                                                                    9.000000000000000
                                                                                     SOL                                                                                                                                                     1.570400550000000
                                                                                     USD                                                               900.000000000000000                                                                  28.769894944492723
                                                                                     USDT                                                                                                                                                    0.000000000539504

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
44058     Name on file                         FTX Trading Ltd.                      BTC                                                                  0.190327490000000 Quoine Pte Ltd                                                   0.000000000000000
                                                                                     ETH                                                                                                                                                     0.000130000000000
                                                                                     SOL                                                                 22.490129280000000                                                                  0.000000000000000
                                                                                     SPHTX                                                                                                                                                   0.000028000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
28031     Name on file                         FTX Trading Ltd.                      BTC                                                                  0.105061650000000 West Realm Shires Services Inc.                                  0.105061650000000
                                                                                     DOGE                                                                 1.000000000000000                                                                  1.000000000000000
                                                                                     ETH                                                                  1.750924460000000                                                                  1.750924460000000
                                                                                     ETHW                                                                 1.505680440000000                                                                  1.505680440000000
                                                                                     GRT                                                                                                                                                     0.000000008527517
                                                                                     NFT
                                                                                     (389207814616651036/MAGICEDEN
                                                                                     VAULTS)                                                                                                                                                 1.000000000000000
                                                                                     NFT
                                                                                     (392723067468383088/APEXDUCKS
                                                                                     #3012)                                                                                                                                                  1.000000000000000
Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
                                                 Case 22-11068-JTD                                    Doc 23943-2                             Filed 08/28/24                             Page 8 of 10
                                                                                                    Asserted Claims                                                                                             Modified Claim
 Claim
Number                     Name                                     Debtor                          Tickers                                  Ticker Quantity                                  Debtor                               Ticker Quantity
                                                                                     NFT (402043565580846538/EITBIT APE
                                                                                     #2461)                                                                                                                                                  1.000000000000000
                                                                                     NFT (420328881471212793/IMOLA
                                                                                     TICKET STUB #1578)                                                                                                                                      1.000000000000000
                                                                                     NFT (424180528870312466/CRYPTO
                                                                                     AVATAR ART #25)                                                                                                                                         1.000000000000000
                                                                                     NFT (534571177634271991/FANCY
                                                                                     FRENCHIES #5879)                                                                                                                                        1.000000000000000
                                                                                     NFT
                                                                                     (560472869188685612/MADTROOPER
                                                                                     #3403)                                                                                                                                                  1.000000000000000
                                                                                     SHIB                                                               1.000000000000000                                                                    1.000000000000000
                                                                                     SOL                                                                                                                                                     0.000000003879843
                                                                                     USD                                                                                                                                                     0.002884879437438
                                                                                     USDT                                                                                                                                                    1.001306710000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
93496     Name on file                         FTX Trading Ltd.                      BTC                                                                                      West Realm Shires Services Inc.                                0.000049620000000
                                                                                     USD                                                                                                                                                     0.009050244331039
                                                                                     USDT                                                              546.000000000000000                                                                   0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
93745     Name on file                         FTX Trading Ltd.                      SHIB                                                                                     West Realm Shires Services Inc.                         978,279.922234000000000
                                                                                     USD                                                               100.000000000000000                                                                   0.006532980000140
                                                                                     USDT                                                                                                                                                    0.000000005767112

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
29762     Name on file                         FTX Trading Ltd.                      BTC                                                                                      West Realm Shires Services Inc.                                0.005509860000000
                                                                                     DOGE                                                                                                                                                    1.000000000000000
                                                                                     ETH                                                                                                                                                     0.073235390000000
                                                                                     ETHW                                                                                                                                                    0.073235390000000
                                                                                     LTC                                                                                                                                                     2.056291370000000
                                                                                     NFT (369575162924398703/FTX - OFF
                                                                                     THE GRID MIAMI #5424)                                                                                                                                   1.000000000000000
                                                                                     SHIB                                                                                                                                           9,891,200.834817010000000
                                                                                     TRX                                                                                                                                                2,412.771669040000000
                                                                                     USD                                                                      Undetermined*                                                                  0.000080480709878

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
94255     Name on file                         FTX Trading Ltd.                      BTC                                                                                      West Realm Shires Services Inc.                                0.017689267102126
                                                                                     DOGE                                                                                                                                                  291.136647455720000
                                                                                     ETH                                                                                                                                                     0.014641680000000
                                                                                     SHIB                                                                                                                                             464,899.390348400000000
                                                                                     SOL                                                                                                                                                     1.296776130000000
                                                                                     USD                                                             1,000.000000000000000                                                                 354.000004105445600

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
12093     Name on file                         FTX Trading Ltd.                      AAVE                                                                 0.000000000100000 West Realm Shires Services Inc.                                  0.000000000100000
                                                                                     ETH                                                                  1.401442584976031                                                                  1.401442584976031
                                                                                     ETHW                                                                 0.000000009463494                                                                  0.000000009463494
                                                                                     LINK                                                                 0.000000002861595                                                                  0.000000002861595
                                                                                     LTC                                                                 23.086397650000000                                                                 23.086397650000000
                                                                                     MKR                                                                  1.340884060000000                                                                  1.340884060000000
                                                                                     SOL                                                                  0.000000000787256                                                                  0.000000000787256
                                                                                     USD                                                             5,000.000000311233737                                                                   0.000000311233737
                                                                                     USDT                                                                 0.000001536384366                                                                  0.000001536384366
                                                                                     YFI                                                                  0.000000005816034                                                                  0.000000005816034

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.
30966     Name on file                         FTX Trading Ltd.                      DOGE                                                                                     West Realm Shires Services Inc.                               79.698332421563400
                                                                                     ETH                                                                                                                                                     1.359530796350225
                                                                                     ETHW                                                                                                                                                    0.000000006350225
                                                                                     GRT                                                                                                                                                     0.000000007321898

                                                                                     NFT (479694134685860689/AUSTRALIA
                                                                                     TICKET STUB #198)                                                                                                                                      1.000000000000000
                                                                                     SOL                                                                                                                                                   13.358093855246000
                                                                                     USD                                                                    Undetermined*                                                                   0.000003326144590

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that the customer asserted cryptocurrency quantities and fiat which
does not match the quantities and holdings in such customer’s accounts. Accordingly, the Debtors seek to modify the asserted claim to match their books and records. In addition, based on the Debtors’ review of their books and records, the Debtor entity
against which the Proof of Claim is asserted should be modified from the Debtor identified in the Asserted Claims to the Debtor identified in the Modified Claim.




Undetermined*: Indicates claim contains unliquidated and/or undetermined amounts
Case 22-11068-JTD   Doc 23943-2   Filed 08/28/24    Page 9 of 10




                       SCHEDULE 2

            Overstated and/or Unliquidated Claims
                                          Case 22-11068-JTD                                          Doc 23943-2                             Filed 08/28/24                             Page 10 of 10
                                                                                                                 FTX Trading Ltd. 22-11068 (JTD)
                                                                                                            Eighty-Second Omnibus Claims Objection
                                                                                                                  Schedule 2 - Modified Claims

                                                                                                     Asserted Claims                                                                                            Modified Claim
  Claim
 Number              Name                                    Debtor                                   Tickers                                 Ticker Quantity                             Debtor                                    Ticker Quantity
53628   Name on file                         FTX Trading Ltd.                        USD                                                        5,000,100.000000000000000 FTX Trading Ltd.                                           5,000,100.000000000000000

                                                                                            Other Activity Asserted: Fiat USD899,649.02 - I have an account in FTX Blockfolio with                                                            0.000000000000000
                                                                                            customer ID###### and the holder is ####### with email address ######, same as
                                                                                            this FTX.com account.
Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that no liability exists on account of the other activity asserted. The
liability asserted in the claimant's other activity is reflected in filed claim 53607. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
78357        Name on file                         FTX Trading Ltd.                          BTC                                                                 0.354853690000000 FTX Trading Ltd.                                            0.354853690000000
                                                                                            BTC-PERP                                                           -0.000000000000007                                                            -0.000000000000007
                                                                                            ETH                                                                 0.000517050000000                                                             0.000517050000000
                                                                                            ETHW                                                                0.079517050000000                                                             0.079517050000000
                                                                                            FTT                                                                 0.000610620000000                                                             0.000610620000000
                                                                                            LINK-PERP                                                          -0.000000000000454                                                            -0.000000000000454
                                                                                            SOL                                                               51.222052930000000                                                             51.222052930000000
                                                                                            SRM                                                            8,057.328836410000000                                                         8,057.328836410000000
                                                                                            SRM_LOCKED                                                   411,651.113836410000000                                                      411,651.113836410000000
                                                                                            USD                                                        2,760,106.567679109500000                                                    2,760,106.567679109500000

                                                                                     Other Activity Asserted: 1 NFT - I own one NFT ID 291222296035270200 on FTX.US                                                                           0.000000000000000

Reason: The Debtors have conducted a review of the filed proof of claim and any related accompanying materials and their books and records. Based on this review, the Debtor submits that no liability exists on account of the other activity asserted. The
liability asserted in the claimant's other activity is reflected in filed claim 78421. Accordingly, the Debtors seek to modify the asserted claim to match their books and records.
